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[N THE CIRCUIT COURT OF THE N[NTH
JUDlCIAL CIRCUIT, [N AND FOR
ORANGE COUNTY, FI_DR]DA

PRESENE'I'I`E PETIGNY, lndividually,

as Surviving Spouse and Personal Representative

of the Estate of`JAMES RAYNALD PETIGNY,

Deceased,

Plaintiff, . CASE NO.:

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JONATHAN TOLEDO, REHRIG PACII"IC
COMPANY, a Foreign Corporation, XTRA
LEASE, LLC, a Foreign Corporation,

Defendants.
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COMES NOW the Plaintiff, PRESENE'I']`E PETIGNY, lndividually, as Surviving Spouse
and Personal Representative of the Estate of JAMES RAYNALD PETIGNY, Decwsed and sues
the Defendants, JONATHAN TOLEDO (hereinafier referred to as “TOLEDO”), REHRIG
PAClFlC COMPANY (hereinafier referred to as “REHRIG”), and XTRA LEASE, LLC
(hereinafier referred to as “XTRA”), based on the following allegations:
. ALLEGATIONS COMMON TO ALL COUNTS
l. This is an action under the F|orida Wrongfdl Death Statute for damages and an
action for personal injuries against the named Defendants, in excess of Fifteen Thousand
($15,000.00) Dollars.
2. PRESENE'I'I`E PETIGNY is the Personal Representative of the Estate of JAMES
_ RAYNALD PETIGNY, deceased husband, and at all times and material hereto, was a resident of

Palm Beach County, Florida, and the surviving spouse of JAMES RAYNALD PETIGNY.

 

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3. SARADJE,AN PETIGNY, age 17, is the surviving minor child of the deeeased,
.IAMES RAYNALD PETIGNY.

4. DAPHNAIKA PETlGNY, age 12, is me surviving child of the deceased, JAMES
RAYNALD PETIGNY.

5. JENIYAH PETIGNY,` age 2, is the surviving child of the deceased, JAMES
RAYNAI..D PETIGNY.

6. At all times material hcreto, the Dcfcndant, TOLEDO, was and is a resident of
Orlando, Orange County, Florida, and at the time of the accident in question he was operating a
tractor trailer truck on the public roads of the Statc of Florida. ‘

7. At all times material hcrcto, the Defcndant, REHRIG, was a foreign eorporation,
which cngaged in continuous and systematic business activity in Orlando, Orangc County, Florida,'
and throughout the Statc of Florida; and at the time of the accident and timber maintained a resident
agent, pursuant to Florida law, located in Tallahassee, Leon County, Florida.

8. At all times material hercto, the Dcf`cndant, XTRA LEASE, was a foreign Lilnited
Liability Company, which engaged in continuous and systematic business activity in Orlando,
Orange County, Florida, and throughout the Statc of Florida; and at the time of the accident.and
further maintained a resident agent, pursuant to Florida law, located in Plantation, Broward County,
Florida.

COUNT l - WRONGUL DEATH AS A RESULT OF THE NEGLIGENCE OF

JONATHAN TOLEDO

9. Thc Plaintiff,,PRESENE'ITE PETIGNY, Individually, as Surviving Spousc and

Personal Representative of the Estatc of JAMES `RAYNALD PETIGNY, Deceased, sues the

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Defendant, TOLEDO, for damages in excess of Fitieen Thousand ($15,000.00) Dollars, pursuant
to the Florida Wrongful Death Statute under Florida Statutcs §768.16-§768.27, and adopts each
and every allegation as contained in paragraphs 1-8 as stated hcrein.

'lO. On or about September lO, 2011, the Defendant, TOLEDO, operated and drove a
semi-tractor trailer truck, pulling a trailer owned by the Defendant, XTRA, which trailer was under
the custody and control of the Defendant, REHRIG, and did so at the direction of the Dcfendant,
REHRIG, in a southerly_direction on lnterstate 95 at or near the intersection of Lantana Road, in
Palm Beach County, Florida, and in doing so, negligently collided with a vehicle occupied by
JAMES RAYNALD PETIGNY, which caused the death of JAMES RAYNALD PETIGNY.

ll. Thc Estatc of JAMES RAYNALD PETIGNY is entitled to recover damages under
the Florida Wrongful Death Act pursuant to Florida Statutes §768.21, due to the wrongful death of
JAMES RAYNALD PETIGNY caused by the Defendant, TOLEDO.

12. As a direct and proximate cause of the negligence of the Defendant, TOLEDO, the
Plaintiffs are entitled to damages sustained as provided by the Florida Wrongful Death Statute
§768.21, including but not limited to those damages as follows:

a. Loss of support and services in the past with interest, and in the iiiture, to all Plaintiffs.

b. chlacernent value of the decedents services to the survivors in the past and in the

future

c. Loss of net accumulation sustained to the Estatc of JAMES RAYNALD PETIGNY.

d. Loss to PRESENETI'E PETlGNY, of the deeedent’s companionship and protection and

for her mental pain and suffering li'om thc date of injury through the iiiture.

e. Thc loss to SARADJEAN PETlGNY, DAPHNAIKA PETIGNY, and JENIYAH

LEAH PETIGNY, for the lost parental companionship, instruction, and guidance, and

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for their mental pain and suffering from thc date of injury through the future.

f. Thc loss to PRESENE'I'I`E PETIGNY of companionship, instruction and guidance, as
well as for mental pain and suffering from the date of injury through the iiiture.

g. Any _and all medical or funeral expenses incurred due to the wronng death of the
decedent, JAMES RAYNALD PETIGNY.

h. All loss of earnings of the dcceased, JAMES RAYNALD PEllGNY, from thc date of
injury to the date of death, less lost support of survivors, excluding contributions and
calculated with interest.

i. All loss of the prospective net accumulations of an estate, which might reasonably have
been expected, but for the wrongful death, reduced to present_money value.

13. At all times material hereto, all foregoing injuries and damages set forth above, are

continuing and permanent in nature.

l4. 'I'hat the death of JAMES RAYNALD PETIGNY resulted directly from the
negligent acts and omissions of TOLEDO.

WHEREFORE the Plaintiff, PRESENETTE PETIGNY, individually, as Surviving Spousc
and Personal Representative of the Estatc of JAMES RAYNALD PETIGNY, Deceased, and on
behalf of SARADJEAN PETIGNY, DAPHNAlKA PET|GNY, and JENIYAH LEAH PETIGNY,
demands judgment against the Defendant, JONATl'lAN TOI..EDO, for compensatory damages in
an amount in excess of Fiiicen Thousand ($15,000) Dollars and further demands trial by jury.

COUNT II -'- WRONGFUL DEATHAS A RESULT OF THE NEGLIGENCE OF REHRlG
PACIFIC COMPANY

15. Thc Plaintiff`, PRESENETTE PETIGNY, lndividually, as Surviving Spousc and

Pcrsonal Representative of the Estatc of` JAMES RAYNALD PETIGNY, Deceascd, sues the

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Defcndant, TOLEDO, for damages in excess of Fifteen Thousand ($15,000.00) Dollars, pursuant
to the Florida Wronglirl Death Statutc under Florida Statutes §768.|6-§768.27, and adopts each
and every allegation as contained in paragraphs l-8 as stated herein.

16. At all times material hercto, the Defcndant, REHRIG, had a pattern and practice of
permitting the Defcndant, TOLEDO, to park the subject tractor and trailer on the grounds of the _
Defcndant, REHR!G’s facility in Orlando, Orange County, Florida.

l7. At all times material hereto, the Defcndant, REHR]G, exclusively utilized the
services of the Defcndant, TOLEDO, to transport its trailers on the public roads of the Statc of
Florida.

18. At all times material hereto, the Defcndant, REHRIG, exercised exclusive and total
dominion and control over the drivers who would be charged with the responsibility of transporting
its trailers on the public roads of the Statc of Florida.

19. On or about Septe_mber lO, 2011, the Defcndant, TOLEDO, negligently operated
and drove a semi-tractor trailer truck for the benefit of the Defcndant, REHRIG, pulling a trailer for
the business purposes and benefit of the Defcndant, REHRIG, and did so at the direction of the
Defcndant, REHRIG, in a southerly direction on lnterstate 95 at or near the intersection of Lantana
Road, in Palm Beach County, Florida, and in doing so, caused a fatal rear impact collision with a
vehicle occupied by JAMES RAYNALD PETIGNY, which caused the death of JAMl:`.S
RAYNALD PETlGNY.

20. At all times material hereto the Defcndant, REHRIG, was a motor carrier as defined
by the Unitcd States Department of Transportation and Fedcral Motor Carrier Safety
Administration and was assigned a carrier number, a/k/a United States Department of

Transportation (USDOT) number 527801.

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21. As a motor carrier, operating under a license or franchise granted by the United
States Dcpartment of Transportation (USDOT), REHR]G, as the licensee or tianchisee, had a non-
delcgablc duty to ensure that the transportation of its goods in commercial transit were done so in a
manner so as to not cause harm or injury to another person, the motoring public in general, and to
thc Dccedcnt, Raynald James Petigny, specifically

22.. ln addition, at all times material hcrcto, Defcndant, REHR]G, owed a duty to the
Dccedcnt, JAMES RAYNALD PETIGNY, and the other members of the motoring public to
exercise reasonable care in: . l

a. Thc hiring of drivers to transport the trailers they owed, or the trailers under their
eontrol, on the public roads of the Statc of Florida;

b. Providing training and instruction to the drivcr’s of its tractor trailer combinations,
particularly the tractor trailer involved in the accident described hcrein;

c. Properly supervising the drivers of its tractor trailers, particularly the tractor trailer
involved in the accident described herein;

d. Complying with federal, state and or local regulations dealing with the inspection,
maintenance and/or operation of its tractor trailers, particularly thc tractor trailer involved in the
accident described hcrcin;

c. Establishing safe procedures for the operation of its tractor trailers, particularly the
tractor trailer involved in the accident described hercin; and

f. lnspecting, maintaining and repairing its tractor trailers, particularly the tractor
trailer involved in the accident described herein.

23. At all times relevant hereto, Defcndant, REl-IRIG, breached the duties set forth

above by failing to use reasonable care in the:

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a.

Supervision of the Defcndant, TOLEDO to transport its trailers on the public roads

of the Statc of Florida;

b.

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l'l"l.

Retention of the Defcndant, TOLEDO, who had an unsafe driving record to

transport its trailers on the public roads of the Statc of Florida;

Training of its drivers, employees and/or agents, including the Defcndant,
TOLEDO;

Supervision of its business operations in failing to properly monitor the driving
habits and records of the drivers, employees and/or agents, including the Defcndant,
TOLEDO, to transport its trailers on the public roads of the State of Florida;

Supcrvision of its drivers, employees and/or agents, including the Defcndant,
TOLEDO;

lnstruction of its drivers, employees and/or agents, including the Defcndant,
TOLEDO;

Entrustment of its vehicles to the Defcndant, TOLEDO;

lnspection of its trailers;

Execution of its business practices and/or procedures;

Failure to comply with federal regulations;

Failure to properly audit the logs of its drivers, employees and/or agents, including
the Defcndant, TOLEDO;

Failure to utilize available information to properly monitor its drivers, employees
and/or agents, including the Defcndant, TOLEDO for compliance with company
policies and/or federal rcgulations;

Other ways which are as yet unknown but may be revealed aher further

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investigation and discovery.

24. Additionally, and in the alternative, the Defcndant, REHRIG, was negligent in the
transportation of its vehicles under the license or franchise granted by the United States Department
of Transportation as a federal motor carrier, in that it failed to transport, in a safe and reasonable
manner, its vehicles such that they did not strike the vehicle which the Decedent, JAMES
RAYNALD PETIGNY, was driving from behind resulting in his death.

25. The Estatc of JAMES RAYNALD PETIGNY is entitled to recover damages under
the Florida Wrongfiil Death Act pursuant to Florida Statutes §768.21, due to the wrongful death of
JAMES RAYNALD PErrGNY caused by the Defcndant, ToLEDo.

26. As a direct and proximate cause of the negligence of the Defcndant, TOLEDO, the
Plaintifl`s are entitled to damages sustained as provided by the Florida Wrongful Death Statutc
§768.2| , including but not limited to those damages as follows:

a. Loss of support and services in the past with interest, and in the future, to all Plaintifls.

b. Replacement value of the decedents services to thc'survivors in the past and in the

future.

c. Loss of net accumulation sustained to the Estatc of JAMES RAYNAf.D PETIGNY.

d. Loss to PRESENETTE PETIGNY, of the decedent’s companionship and protection and

for he`r mental pain and suffering from the date of injury through the future.

e. Thc loss to SARADJEAN PETIGNY, DAPHNAIKA PETIGNY, and JENIYAH

LEAH PETIGNY, for the lost parental companionship, instruction, and guidance, and
for their mental pain and suffering from the date of injury through the futurc.

f. The loss to PRESENETTE PETIGNY of companionship, instruction and guidanee, as

well as for mental pain and suffering from the date of injury through the future.

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g. Any and all medical or funeral expenses incurred due to thc wrongful death of the
decedent, JAMES RAYNALD PETIGNY.

h. All loss of earnings of the deceascd, JAMES RAYNALD PETIGNY, fi'orn the date of
injury to the date of death, less lost support of survivors, excluding contributions and
calculated with interest.

i. All loss of the prospective net accumulations of an estate, which might reasonably have
been expected, but for the wrongful death, reduced to present money value.

27. At all times material hereto, all foregoing injuries and damages set forth above, are

continuing and permanent in naturc.

28. That thc death of JAMES RAYNALD PETIGNY resulted directly from the
negligent acts and omissions of TOI_.EDO.

WHEREFORE the Plaintiff, PRESENE'I'I`E PETIGNY, individually, as Surviving Spousc
and Personal Representative of the Estatc of JAMES R.AYNALD PE'I'IGNY, Deeeased, and on
behalf of SARADJEAN PETIGNY, DAPHNAIKA PETlGNY, and JENIYAH LEAH PETIGNY,
demands judgment against the Defcndant, REHRIG PACIFIC COMPANY, for compensatory
damages in an amount in excess of Fifteen Thousand ($15,000) Dollars and further demands trial
by jury.

COUNT III - WRONGFUL DEATH AS A RESULT OF THE NEGLIGENT RETENTION
BY REHRIG PACI FIC COMPANY

29. Thc Plaintiff, PRESENETTE PETIGNY, lndividually, as Surviving Spousc and
Pcrsonal Representative of the Estatc of JAMES RAYNALD PETIGN_Y, Deceased, sues the
Defcndant, 'I`OLEDO, for damages in excess of Fiftecn Thousand (SlS,OO0.00) Dollars, pursuant

to the Florida Wrongful Death Statutc under Florida Statutes §768.16-§768.27, and adopts each

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and every allegation as contained in paragraphs 1-8 as stated herein. _

30. On or about Scptcmber 10, 2011, thc Defcndant, TOLEDO, negligently operated
and drove a semi-tractor trailer truck, pulling a trailer owned by the Defcndant, XTRA, which
trailer was under the custody and control of the Defcndant, REHRIG, and did so at the direction of
the Defcndant, REHRIG, in a southerly direction on lnterstate 95 at or near the intersection of
Lantana Road, in Palm Beach County, Florida, and in doing so, caused a fatal rear impact collision
with a vehicle occupied by JAMES RAYNALD PETIGNY, which caused the death of JAMiES
RAYNALD PETIGNY. '

31 . At all times material hereto the Defcndant, REHRIG, was a motor earrier as defined
by the United States Departmcnt of Transportation and Federal Motor Carrier Safety
Administration and was assigned a carrier number, a/k/a United States Departmcnt of
Transponarion macon number 527801.

32. As a motor carrier, operating under a license or franchise granted by the United
States Departmcnt of Transportation (USDOT), REHRIG, as the licensee or franchisee had a non- _
delegable duty to ensure that the transportation of its goods in commercial transit were done so in a
manner so as to not eause harm or injury to another person, the motoring public in general, and to
the Decedent, Raynald James Pctigny, specifically

33. At all times material hereto, the Decedent, JAMES RAYNALD PETlGNY, was a
member of the motoring public on the public roads of the Statc of Florida, and was relying on the
Defcndant, REHRIG, to behave reasonably in its hiring and retention practices so as to protect the
Decedent, JAMES RAYNALD PETIGNY, and other persons from foreseeable harm at the hands
of the Defcndant, TOLEDO, as a result of the Defcndant, REHRIG, placing the Defcndant,

'I`OLEDO, in custody and control of a trailer and hauling it on the public roads of the Statc of

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Florida.

34. At all times material hereto, the Defcndant, REHRIG, had a duty to use reasonable
care in its practices of retaining drivers to transport its trailers on the public roads of thc Statc of
Florida to avoid retaining, contracting with and utilizing drivers who foreseeany could cause
death or serious bodily injury to the motoring public on the public roads of the State of Florida
while transporting its trailers.

3$. At all times relevant hereto, Defcndant, REHRIG, breached its duty to retain and
hire qualified drivers to transport its trailers orr the public roads of the State of Florida, when it
retained, contracted with, provided the opportunity to transport and otherwise placed its trailer in
the custody and control of the Defcndant, TOLEDO, to transport the trailer on the public roads of
the Statc of florida

36. At the time of retaining, hiring, contracting with and otherwise placing its trailer
under the custody and control of the Defcndant, TOLEDO, the Defcndant, REHRIG, knew or
through reasonable investigation should have known that the Defcndant, TOLEDO, was not
experienced, qualified nor able to operate a tractor trailer combination on the public roads of the
Statc of Florida.

37. As a result of the negligent retaining, hiring, contracting by the Defendant,
REHRIG, of the Defcndant, TOLEDO, the Defcndant, REHRIG placed the Defcndant, TOLEDO,
in control of thc tractor trailer combination when he lost control of the tractor trailer combination
and impacted with the rear of the motor vehicle operated by JAMES RAYNALD PETIGNY,
Deceased, causing the Decedent’s vehicle being forced from the roadway and resulting his untimely
death,

38. The Estatc of JAMES RAYNALD PETIGNY is entitled to recover damages under

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the Florida Wrongful Death Act pursuant to Florida Statutes §768.21, due to the wronng death of

JAMES RAYNALD PETIGNY caused by the Defcndant, TOLEDO.

39. As_ a direct and proximate cause of the negligence of the Defcndant, TOLEDO, the

Plaintiffs are entitled to damages sustained as provided by the Florida Wrongf"ul Death Statutc

§768.2 l , including but not limited to those damages as follows:

a.

b.

boss of support and services in the past with intercst, and in the future, to all Plaintift`s.
Replacement value ofthe decedents services to the survivors in the past and in the future.
Loss of net accumulation sustained to the Estatc ofJAMES RAY`NALD PETIGNY.

Loss to PRESENE'I`TE PETIGNY, of the decedent’s companionship and protection and for
her mental pain and suffering from the date of injury through the futurc.

Thc loss to SARADJEAN PETIGNY, DAPHNAIKA PETIGNY, and JENIYAH LEAl-I
PETIGNY, for the lost parental companionship, instruction, and guidance, and for their
mental pain and suffering ii'om the date of injury through the future.

'I`he loss to PRESENETTE PETIGNY of companionship, instruction and guidance, as well
as for mental pain and suffering from the date of injury through the l`uture.

Any and all medical or funeral expenses incurred due to the wrongful death of the decedent,
JAMES RAYNALD PETIGNY.

All loss of earnings of the deceased, JAMES RAYNALD PETIGNY, from the date of
injury to the date of death, less lost support of stu'vivors, excluding contributions and
calculated with interest.

All loss of the prospective net accumulations of an estate, which might reasonably have
been expected, but for the wrongful death, reduced to present money value.

40. Additionally, and in the alternative, the Defcndant, REHRIG, was negligent in the

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transportation of its vehicles under the license or franchise granted by the United States Departmcnt
of 'I`ransportation as a federal motor carrier, in that it failed to transport, in a safe and reasonable
manner, its vehicles such that they did not strike the vehicle which the Decedent, JAMES
RAYNALD PETIGNY, was driving from behind resulting in his death,

4l. At all times material hereto, all foregoing injuries and damages set forth above, are
continuing and permanent in nature.

42. That the death of JAMES RAYNALD PETIGNY resulted directly from the
negligent acts and omissions of TOLEDO.

WHEREFORE the _Plaintifl`, PRESENETTE PETIGNY, individually, as Surviving Spousc
and Personal Representative of the Estatc of JAMES RAYNALD PETIGNY, Deceased, and on
behalf of SARADJEAN PETIGNY, DAPHNAIKA PETIGNY, and JENIVAl-l LEAH PETIGNY,
demands judgment against the Defcndant, REHRIG PAClFlC COMPANY, for compensatory
damages in an amount in ekcess of Fi{ieen Thousand ($15,000) Dollars and further demands trial
byjury.

COUNT lV -- WRONGFUL DEATH AS A RESULT OF THE NEGLlGENCE OFXTRA
» LEASE, LLC

43. 'l'he PlaintiH`, PRESENETTE PETIGNY, lndividually, as Surviving Spouse and
Personal Representative of the Estate of JAMES RAYNALD PETIGNY, Deceased, sues the
Defcndant, TOLEDO, for damages in excess of Fifteen Thousand ($15,000.00) Dollars, pursuant to
the Florida Wrongti.\l Death Statutc under Florida Statutes §768.16-§768.27, and adopts each and
every allegation as contained in paragraphs l through 8 as stated herein.

44. At all times material hereto, the Defcndant, XTRA, owned a trailer bearing Vehicle

Identiiication Number, lNNVX532XSM250631, which was operated and hauled on the public

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roads of the Statc of Florida, for the benefits of the Defcndant, REHRIG, by the Defcndant,
TOLEDO.

45. Thc Defcndant, XTRA, entered into a lease agreement with the Defcndant,
REHRlG, to lease trailers, in general, and specifically, the trailer bearing Vehicle ldentification
Number, lNNVX532XSM25063 l, for the exclusive use and control by the Defcndant, REHRIG,
in the normal and daily operation of its business ventures in and around the Statc of Florida. (A
copy of the Lease Agreemcnt dated between the Defcndant, REHRIG and the Defcndant, XTRA, is
attached hereto as “Exhibit A.”)

46. The aforementioned lease required the maintenance of the subject trailer to be
performed by the Defcndant, XTRA, including but not limited to the performance of any and all
brake inspections, repairing of brake lines and brake pads, replacing any and all brake pads and
brake part components

47. At all times material hereto, the Defcndant, XTRA, had a duty to inspect, maintain
and repair, the trailer, particularly the trailer as described herein which was involved in the accident
that occurred on September 10; 201 l on lnterstate 95 at or near the intersection of Lantana Road in
Palm Beach County, Florida.

48. At all times material hereto, the Defcndant, XTRA LEASE, breached its duty by
negligently failing to inspect, maintain, and repair the brakes on the subject trailer described above,

49. Upon information and belief, on September lO, 20|1, while the Defcndant,
TOl..EDO, was negligently operating a semi~tractor trailer truck hauling the aforementioned subject
trailer, the brakes failed causing the trailer to begin to slide out from behind the truck operated by
the Defcndant, TOLEDO, and impacting with thc rear of the motor vehicle operated by JAMES

RAYNALD PET|GNY, Deeeased, causing the Decedent’s vehicle being forced from the roadway

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and resulting the untimely death ofJAMES RAYNALD PETIGNY.

50. As a direct and proximate result of the failure of the Defcndant, XTRA, to inspect,
maintain and repair the brakes on the subject trailer, the Decedent, JAMES RAYNALD
PETIGNY’$ vehicle was forced from the roadway and resulted in the untimely death of JAMES
RAYNALD PETIGNV.'

'I'he Estatc of JAMES RAYNALD PETIGNY is entitled to recover damages under the Florida
Wrongfirl Death Act pursuant to Florida Statutes'§768.21, due to the wrongful death of JAMES
RAYNALD PETlGNY caused by the Defcndant, TOLEDO.

51. As a direct and proximate cause of the negligence of the Defcndant, TOLEDO, the
Plaintiffs are entitled to damages sustained as provided by the Florida Wrongfirl Death Statutc
§768.21, including but not limited to those damages as follows:

a. Loss of support and services in the past with interest, and in the future, to all Plaintifi`s.

b. Rep|acernent value of the decedents services to the survivors in the past and in the

future.

c. Loss of _net accumulation sustained to the Estatc of JAMES RAYNALD PETIGNY.

d. Loss to PRESENET'I`E PETIGNY, of the decedent’s companionship and protection and

f`or her mental pain and suffering from the date of injury through the future.

e. Thc loss co sARADJEAN rETrGNY, DAPHNAIKA PETIGNY, and JENIYAH

LEAH PETIGNY, for the lost parental companionship, instruction, and guidance, and
for their mental pain and suffering from the date of injury through the future.

f. 'I'he loss to PRESENETTE PETIGNY of companionship, instruction and guidance, as

well as for mental pain and suffering from the date of injury through the future.

g. Any and all medical or funeral expenses incurred due to the wrongful death of the

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decedent, JAMES RAYNALD PETlGNY.

h. All loss of earnings of the deceased, JAMES RAYNALD PETIGNY, from the date of
injury to the date of death, less lost support of survivors, excluding contributions and
calculated with interest

i. All loss of the prospective net accumulations of an estate, which might reasonably have
been expected,. but for the wrongful death, reduced to present money value.

52. At all times material hereto, all foregoing injuries and damages set forth above, are

continuing and permanent in nature.

53. That the death of JAMES RAYNALD PETIGNY resulted directly from the
negligent acts and omissions ofTOLEDO.

Wl-IEREFORE the Plaintiff, PRESE_NETTE PETIGNV, individually, as Surviving Spousc
and Personal Representative of the Estate of JAMES RAYNALD PETIGNY, Deceased, and on
behalf of SARADJEAN PETIGNY, DA_PHNAlKA PETlGNY, and JENIYAH LEAH PETIGNY,
demands judgment against the Defcndant, XTRA LEASE, LLC, for compensatory damages in an
amount in excess ofFifieen Thousand ($lS,OOO) Dollars and further demands trial by jury.

DEMAND. FOR JURY TRIAL

The Plaintiff, Plaintiff, PRESENETTE PETlGNY, individually, as Surviving Spousc and
Personal Representative of the Estatc of JAMES RAYNALD PETIGNY, Deceased, and on behalf
of SARADJEAN PETIGNY, DAPHNAIKA PETIGNY, and JENIYAH LEAH PETIGNY, hereby
demands trial by jury of all issues triable as ofright by jury.

Dated this _ day of January, 20 l 2.
PINEYRO & CRESSMAN LAW FIRM

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